                              UNITED STATES BANKRUTPCY COURT
                          FOR THE EASTERN DISTRICT OF PENNSYLVANIA


       FREDERICK MRAZ                                Chapter 13



                              Debtor                 Bankruptcy No. 19-11029-AMC


                                    Order Dismissing Chapter 13 Case and
                                 Directing Counsel to File Master Mailing List

        AND NOW, this ____________
                            25th           day of ___________________,
                                                    July                     201_,
                                                                                 9 upon consideration of the Motion
to Dismiss filed by William C. Miller, standing trustee, this case is dismissed and it is further ORDERED, that
counsel for the debtor, shall file a master mailing list with the clerk of the Bankruptcy Court, currently updated
(if such has not been previously filed); and it is further

       ORDERED, that any wage orders are hereby vacated.




                                       _________________________________
                                                   Ashely M. Chan
                                                   Bankruptcy Judge

William C. Miller, Trustee
P.O. Box 1229
Philadelphia, PA 19105

Debtor’s Attorney:
MICHAEL G DEEGAN
134 W KING ST

MALVERN, PA 19355


Debtor:
FREDERICK MRAZ

9 WOODCHUCK WAY

KENNETT SQUARE, PA 19348
